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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                                     MDL No. 2873



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −109)



On December 7, 2018, the Panel transferred 75 civil action(s) to the United States District Court for the
District of South Carolina for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.
See 357 F.Supp.3d 1391 (J.P.M.L. 2018). Since that time, 256 additional action(s) have been transferred to
the District of South Carolina. With the consent of that court, all such actions have been assigned to the
Honorable Richard M. Gergel.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the District of South Carolina and assigned to Judge Gergel.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of South Carolina
for the reasons stated in the order of December 7, 2018, and, with the consent of that court, assigned to the
Honorable Richard M. Gergel.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the District of South Carolina. The transmittal of this order to said Clerk shall be stayed 7 days from
the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period,
the stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:

                               Nov 23, 2022

                                                            John W. Nichols
                                                            Clerk of the Panel
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IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                               MDL No. 2873



                   SCHEDULE CTO−109 − TAG−ALONG ACTIONS



  DIST     DIV.       C.A.NO.    CASE CAPTION


CALIFORNIA SOUTHERN

  CAS       3         22−01671   County of San Diego v. 3M Company et al

MARYLAND

  MD        1         22−02866   Mayor and City Council of Baltimore v. 3M Company et al

NEW YORK EASTERN

  NYE       2         22−06854   Village of Hempstead v. The 3M Company et al

NEW YORK SOUTHERN

  NYS       1         22−09539   Weber et al v. The 3M Company et al
  NYS       1         22−09544   Delaney et al v. The 3M Company et al
  NYS       1         22−09629   Meck et al v. 3M Company et al
                                 Templeton et al v. 3M Company (f/k/a Minnesota Mining
  NYS       1         22−09631   and Manufacturing, Co) et al

TEXAS WESTERN

  TXW       5         22−01216   Hoover v. 3M Company et al
